              Case:20-12689-JGR Doc#:1 Filed:04/20/20                                  Entered:04/20/20 15:14:41 Page1 of 7


Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF COLORADO

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           04/20
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                UC Colorado Corporation

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  301 Commercial Road, Unit D
                                  Golden, CO 80401
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Jefferson                                                       Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




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Debtor    UC Colorado Corporation                                                                      Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
                                          Chapter 9

     A debtor who is a “small             Chapter 11. Check all that apply:
     business debtor” must check
     the first sub-box. A debtor as                              The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     defined in § 1182(1) who                                    noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     elects to proceed under                                     $2,725,625. If this sub-box is selected, attach the most recent balance sheet, statement of
     subchapter V of chapter 11                                  operations, cash-flow statement, and federal income tax return or if any of these documents do not
     (whether or not the debtor is a                             exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     “small business debtor”) must                               The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
     check the second sub-box.                                   debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                When                                  Case number
                                                  District                                When                                  Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor                                                                    Relationship
                                                  District                                When                              Case number, if known


Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 2
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Debtor   UC Colorado Corporation                                                                   Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                       50-99                                            5001-10,000                                 50,001-100,000
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
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Debtor    UC Colorado Corporation                                                                  Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      April 20, 2020
                                                  MM / DD / YYYY


                             X   /s/ John Walsh                                                           John Walsh
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Chief Financial Officer




18. Signature of attorney    X   /s/ Aaron J. Conrardy                                                     Date April 20, 2020
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Aaron J. Conrardy
                                 Printed name

                                 Wadsworth Garber Warner Conrardy, P.C.
                                 Firm name

                                 2580 West Main Street
                                 Suite 200
                                 Littleton, CO 80120
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     303-296-1999                  Email address


                                 40030 CO
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 4
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 Fill in this information to identify the case:
 Debtor name UC Colorado Corporation
 United States Bankruptcy Court for the: DISTRICT OF COLORADO                                                                                         Check if this is an

 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Aerotek, Inc                                                    Trade debt                                                                                               $55,793.28
 3689 Collection                 cathost@aerotek.c
 CTR. Dr                         om
 Chicago, IL 60693
 Ambria Investors LP                                             Promissory Note        Disputed                                                                      $1,200,000.00
 1311 Avenue Ponce                                                                      Subject to
 de Leon, Suite 304                                                                     Setoff
 San Juan, PR 00907
 Automated                                                       Trade debt                                                                                               $68,500.00
 Extractions                     kweaver@automat
 19 Donovan Dr                   edextractions.com
 Hopewell Junction,
 NY 12533
 Bernard Brothers                                                Trade debt                                                                                             $160,054.00
 Farms Inc.                      Brandon@oregonb
 15005 SE Kreder Rd              iomass.com
 Dayton, OR 97114
 Blake Street                                                    Promissory Note        Disputed                                                                        $399,750.00
 Partners, LLC                                                                          Subject to
 1942 Broadway                                                                          Setoff
 Street, Suite 314C
 Boulder, CO 80302
 Cintas                                                          Trade debt                                                                                               $90,038.92
 PO Box 88005                    customerservice@
 Chicago, IL 60680               cintas.com
 Coley Farms                                                     Trade debt                                                                                             $438,736.50
 3312 Akersville                 coleytob@nctc.co
 Road                            m
 Lafayette, TN 37083
 CoWest Insurance                                                Insurance                                                                                                $89,938.57
 Group                           smunns@cowest.c
 4348 Woodlands                  om
 Blvd
 Suite 229
 Castle Rock, CO
 80104



Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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 Debtor    UC Colorado Corporation                                                                            Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Delvin Farms                                                    Trade debt                                                                                               $48,060.00
 2023 Doctor
 Robertson Rd
 Spring Hill, TN
 37174
 ECG SPV Acreage,                                                Promissory Note        Disputed                                                                        $781,250.00
 LLC                                                                                    Subject to
 1962 Blake Street,                                                                     Setoff
 Suite 200
 Denver, CO 80202
 General Air                                                     Trade debt                                                                                             $131,165.64
 1105 Zuni St                    bjones@generalair.
 Denver, CO 80204                com
 Hippo Hollow Farms                                              Trade debt                                                                                               $84,709.76
 LLC                             hippohollowfarms
 803 Mahon Rd                    @gmail.com
 Columbia, TN 38401
 Kyle Owens Farms                                                Trade debt                                                                                             $800,756.83
 342 Lock Seven                  jkofarms@yahoo.c
 Lane                            om
 Carthage, TN 37030
 L&M Properties and                                              Promissory Note        Disputed                                                                        $125,000.00
 Holdings, LLC                                                                          Subject to
 5807 West 20th                                                                         Setoff
 Street
 Greeley, CO 80634
 Lindsey Williams                                                Trade debt                                                                                               $75,726.28
 500 CR 64                       drewlindsey2@yah
 Riceville, TN 37570             oo.com
 Miner's Delight, LLC                                            Promissory Notes Disputed                                                                            $1,500,000.00
 5925 East Princeton                                                              Subject to
 Circle                                                                           Setoff
 Englewood, CO
 80111
 Paradox Ventures,                                               Trade debt                                                                                               $54,812.80
 Inc                             david@cokerhome
 501 Main Street                 s.com
 Montrose, CO 81401
 Progressive                                                     Insurance                                                                                                $64,600.00
 PO Box 0561
 Carol Stream, IL                Fax:
 60132-0561                      1-866-731-8075
 Vallor Equipment                                                Trade debt                                                                                               $48,900.78
 LLC                             jenniferp@sciphys
 1605 Se 27th Ave                ystems.com
 Portland, OR 97214
 Willamette Valley                                               Trade debt                                                                                             $185,391.00
 Hemp and Seed Co                wvhempandseed@
 LLC                             gmail.com
 23755 NE Dillon Rd
 Newberg, OR 97132



Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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                                                               United States Bankruptcy Court
                                                                      District of Colorado
 In re      UC Colorado Corporation                                                                       Case No.
                                                                                Debtor(s)                 Chapter    11




                                               VERIFICATION OF CREDITOR MATRIX


I, the Chief Financial Officer of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true

and correct to the best of my knowledge.




 Date:       April 20, 2020                                          /s/ John Walsh
                                                                     John Walsh/Chief Financial Officer
                                                                     Signer/Title




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